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13
                                CENTRAL DISTRICT OF CALIFORNIA
14
15
     UNITED STATES OF AMERICA,                        Case No. LACR19-00642-VAP
16                                                    Case No. LACR20-00155-VAP
                       Plaintiff,
17                                                    DECLARATION OF DEFENDANT
                 vs.                                  IMAAD SHAH ZUBERI
18                                                    CONSENTING TO PROCEED BY
     IMAAD SHAH ZUBERI,                               VIDEOCONFERENCE FOR THE
19                                                    FEBRUARY 9, 2021 STATUS
                       Defendant.                     CONFERENCE
20
                                                      Judge: Hon. Virginia A. Phillips
21                                                    Date: February 9, 2021
                                                      Time: 10:00 a.m.
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     1753618.1                                       Case No. LACR19-00642-VAP; LACR20-00155-VAP
                 DECLARATION OF DEFENDANT IMAAD SHAH ZUBERI CONSENTING TO PROCEED BY
                                          VIDEOCONFERENCE
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